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                                                                   REsUY




                        TOTAL (USD)                  TOTAL (BTC)         PArD (Brc)




                         INVOICE DETAILS

                         Order lD                1667.01

                         Status                  Complete

                         Confirmations           6

                         Currency                DIU

                         Exchange Rate           1 BTC = 10400.40 USt)

                         Created at             8/23/19 3:28PM
                                                View Bill    >


                         Speed                  Medium




                         BUYER INFORMATION

                         Email                  payables@stillmeadowholdings,com




                                    Payment received for
                                    TX lD: [.ebObe3682ba... .l
                                    B/?,3119 3'37    P1,,4




                                    lnvoice created
                                    8123/19 3.2u PM




                                                                                      RM 00003
                                                                                                 1t1
